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                        IN THE UNTIED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                    (GREENBELT)

 _____________________________________
 FRANCIS KOH                           *
                       Plaintiff,      **
                                       *                          8:23-CV-01712
       v.                              *
                                       *
 AMAZON.COM, INC.,                     *
                                       *
                     Defendant.        *


                             COMPLAINT AND DEMAND FOR JURY

Plaintiff, Francis Koh (“Plaintiff”), hereby files this Complaint against Defendant Amazon.com,

Inc. (“Amazon”) and states the following:



                                     CAUSE OF ACTION

   1. This action for defamation is brought under the Common Law of the State of Maryland.

                                               PARTIES

   2. Plaintiff is a citizen of the United States of America and domiciled in the State of

       Maryland, Montgomery County.

   3. Defendant Amazon is a corporation duly organized under the State of Delaware but has

       its principal place of business located in Seattle, Washington and a second “Head

       Quarters” in Virginia.



                                            JURISDICTION




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4. This Court has subject matter jurisdiction over this matter under 28 U.S.C. § 1332(a)(1)

     where Plaintiff is a United States citizen and domiciled in the State of Maryland.

5.    Amazon is a corporation duly organized under the State of Delaware but has its

     principal place of business located in Seattle, Washington, and is deemed a citizen of the

     Delaware and Washington State under 28 U.S.C. § 1332(c)(1).

6. The amount in controversy in this matter is in excess of $75,000, excluding interest and

     costs.



                                              VENUE

7. Amazon has availed itself to the Jurisdiction and Venue of Maryland pursuant to 28

     U.S.C. § 1391(b)(1).

8. Under 28 U.S.C. § 1391(c), Amazon is subject to personal jurisdiction in the State of

     Maryland because of its substantial activities and deliberate presence, including but not

     limited to multiple Amazon fulfillment centers in Baltimore Maryland, example, 2010

     Broening Hwy., MD 21224, and Waldorf Maryland, example, 6 Industrial Park Dr.,

     Waldorf, MD, a Sortation Center in Sparrows Point Maryland, 1700 Sparrows Point

     Blvd., Sparrows Point, MD 21219, and Amazon Delivery Stations in Elkridge Maryland.

9. Because of its activities and dealings, it is foreseeable that Amazon could be haled into

     court in the State of Maryland.


                                              FACTS

10. Plaintiff, Francis Koh, has been practicing law since 2001, being licensed in the State of

     Maryland, Commonwealth of Virginia, and the District of Columbia.




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11. Plaintiff is admitted in the United States Supreme Court, the State Supreme Court of

   Virginia, and the United States District Court of Maryland.

12. Plaintiff practices law under a duly organized entity, Koh Law Firm, LLC., in the State of

   Maryland.

13. Plaintiff has a pristine record in all three licensed jurisdictions without any blemishes for

   misconduct of any sort.

14. Plaintiff has been constantly named to the Top 100 Attorneys in America.

15. In terms of trademark practice, Plaintiff has been named the Top Trademark Attorney for

   2022 according to Patexia, a leading intellectual property platform and online community

   that collects IP related data that ranks US Trademark Attorneys each year.

16. Plaintiff has filed over 25,000 trademark applications at the United States Patent and

   Trademark Office (“USPTO”), serving both foreign and domestic applicants.

17. Plaintiff has never been disciplined by the USPTO and is presently in good standing. See

   Exhibit 1 Showing Good Status Before USPTO and Commonwealth of Virginia.

18. Plaintiff has tirelessly and painstakingly built his trademark practice through the years,

   relying on his good name and reputation, obtaining almost all his business by referrals.

19. Plaintiff is considered a premier attorney amongst foreign trademark firms, particularly

   those in China.

20. Plaintiff had established business relations with premier IP and Trademark Firms in

   China who refer Trademark Applications to Plaintiff for filing before the USPTO.

21. Most Trademark applicants seek to register Trademarks for goods to be sold on

   Amazon.com, which is the world’s largest online market place.


   AMAZON BRAND REGISTRY PROGRAM

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22. Amazon Brand Registry (“ABR”) is allegedly a program that helps brand owners protect

   their intellectual property rights on Amazon's marketplace by providing tools and benefits

   such as enhanced brand content, streamlined reporting of intellectual property violations,

   and increased control over their brand's presence.

23. However, in practical sense, Amazon implements ABR as a way to control what products

   get accepted for sale on Amazon, thus functioning as a gatekeeper for sellers who wish to

   sell goods on Amazon.com.

24. Needless to say, sellers/TM holders, who wish to sell goods on Amazon must

   successfully register their goods through this ABR program which involves a crucial step,

   where a brand registration code is issued to the attorney of record of the trademark

   application/registration, who then forwards this code to the seller for use on Amazon to

   gain access into Amazon’s market place to sell goods.



25. Amazon, around the beginning of 2023, began a campaign to become involved in the

   business aspect of trademark registration, with their own accelerator program and their

   own “curated” trademark attorneys, and to this end, Amazon has been manipulating ABR

   for its own business purposes.




           INTENTIONAL AND/OR RECKLESS DEFAMATION

26. Around January 2023, several of Plaintiff’s clients in China were complaining that they

   were unable to obtain Amazon Brand Registration Codes, and therefore unable to sell

   their goods on Amazon.com.

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27. The matter continued to escalate where almost all of Plaintiff’s clients were claiming that

   they were unable to obtain brand registration codes because Amazon considered Plaintiff

   to be an “Abusive attorney”. See Plaintiff’s Exhibit 2 Showing email from Amazon.com

   seller support explaining to Applicant why ABR code was not being issued.



28. Amazon has created a “Black List” of Trademark attorneys and placed Plaintiff on this

   list.

29. Amazon gave the following reason to applicants, “[t]he reason is that the brand is

   currently ineligible for Brand Registry since the trademark (TM) registration was filed by

   an attorney who has previously being associated with a TM that was sanctioned/made

   invalid by the United States Patent and Trademark Office (USPTO) for violating

   USPTO’s Terms & Conditions.” See Plaintiff’s Exhibit 3.

30. Subsequently, Plaintiff’s major clients were leaving, stating that Plaintiff was on the

   “abusive attorney list”, and had no choice but to seek new counsel in order to obtain

   brand registry on Amazon. See Plaintiff’s Exhibit 4 Showing Email from client stating

   they have to find new counsel due to Amazon.

31. Amazon made such false statement about Plaintiff while directing them to their own

   Amazon Accelerator Program and their “curated” attorneys. See Exhibit 5 Showing

   Email Sent from Amazon directing Applicant to their Accelerator Program.


   FUTILE EFFORTS TO RESOLVE PROBLEM

32. Plaintiff reached out to Amazon and was eventually routed to Brad M. Behar. See

   Exhibit 6 Showing Cease and Desist Letter Dated February 13, 2023.

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33. Eventually Brad M. Behar claiming to be Amazon’s counsel reached out to Plaintiff and

   acknowledged receipt of the Cease and Desist letter.


34. Communications with Behar proved to be fruitless as Amazon.


35. On or about the same time fruitless communications were occurring with Brad Behar, the

   Demand’s team from Amazon’s other law firm, David Wright Tremaine, responded with

   an email stating the matter would take 8-12 weeks for them to complete their

   investigations. See Exhibit 7 Showing Email from Demands Administrator from Davis

   Wright Tremaine LLP.



36. With no progress made, Plaintiff learned of another counsel for Amazon, Benjamin

   Okeke, and sent an email and attached a letter asking to be removed from the abusive list

   and proving to be in good standing before the Commonwealth of Virginia and the

   USPTO. See Plaintiff’s Exhibit 8 Showing 2nd Demand Letter.




37. Plaintiff has suffered irreparable damage to his reputation and business, and continues to

   sustain loss of business and suffer emotional distress.



38. Amazon acknowledges its errors, which resulted in the inclusion of attorneys, including

   the Plaintiff, on the blacklist. Despite this admission, Amazon has chosen not to take any

   action to rectify the situation. See Exhibit 9, Showing admissions from Amazon’s

   counsels made to others regarding their ABR system.

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39. According to Amazon’s admissions, if an attorney takes over a matter that was handled

   by an attorney who has been disciplined/suspended by the USPTO, the new attorney

   would also be flagged just by association, and likewise barred from receiving brand

   registry codes.



40. Amazon knows this system is flawed but refuses to rectify the matter.



41. Plaintiff has trademark applications or registered marks that were previously handled by

   other attorneys, including potentially those that may have been disciplined by the USPTO

   and such practice is commonplace in the trademark community.


42. Despite Plaintiff’s best efforts to resolve this matter, Amazon has been unresponsive and

   has done nothing to remove Plaintiff from their Blacklist, despite a letter from Amazon’s

   brand executive stating Jeff Bezos has been made aware of the situation. See Exhibit 10

   Showing Email from Amazon’s Executive Brand Relations Team Member Melissa A.




                                   COUNT 1 DEFAMATION

43. Paragraphs 1-39 is hereby restated and realleged in their entirety.

44. Amazon has and continues to circulate false and malicious statements about Plaintiff to

   applicants, via email and its brand registry portals, calling plaintiff an “abusive attorney”

   and to find a different attorney to obtain brand registry codes.

45. Allegations by Amazon are false, as Plaintiff has never been disciplined or sanctioned by

   the USPTO, and is in good standing.



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46. Amazon's statements are clearly defamatory, an attempt to discredit and smear his good

   name, as they imply that the Plaintiff lacks the necessary qualifications for engaging in a

   trade, business, or profession, thereby constituting defamation per se.

47. Further, referring to the Plaintiff as an "abusive attorney" constitutes an attack on their

   personal character, with the intention of permanently dissuading clients from engaging

   the Plaintiff.

48. Even after Amazon was informed the statements were false and were sent notices to

   cease and desist, Amazon ignored those notices and continued to defame Plaintiff.

49. The Plaintiff is entitled to presumed damages based on Amazon’s defamation per se.

50. Alternatively, the Plaintiff has suffered actual damages exceeding $75,000, excluding

   interest and costs, which will be proven during the trial.

51. Amazon persists in disseminating ABR rejection emails that contain the aforementioned

   defamatory statements and subsequent other rejection emails implying misconduct by

   Plaintiff.

52. The continued and direct consequences of these actions have already caused and will

   continue to cause irreparable harm to the Plaintiff’s professional reputation, position in

   the trademark industry, and the goodwill associated with his current and potential client

   relationships. As a result, the Plaintiff is left without an adequate legal remedy.

53. Plaintiff has not only suffered economic harm, but has suffered professional humiliation

   and emotional distress.

54. Unless Amazon is temporarily, preliminarily, and permanently enjoined from

   disseminating ABR rejection emails to the Plaintiff’s clients and potential clients, the

   Plaintiff will continue to suffer irreparable harm. Consequently, the Plaintiff is entitled to



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       the entry of an appropriate temporary restraining order, preliminary injunction, and

       permanent injunction.



                                          PRAYER FOR RELIEF

WHEREFORE, Counsel respectfully requests to the following relief from this Court:


   a. Grant a temporary, preliminary, and permanent injunction to prevent Amazon from

       further disseminating the ABR rejection emails to the Plaintiff’s clients and potential

       clients, to refrain from listing Plaintiff negatively within its own searchable databases for

       sellers, and compel release of ABR codes to Plaintiff’s clients;

   b. Award presumed damages for Amazon’s defamation per se;

   c. Award actual damages;

   d. Award for punitive damages;

   e. Award damages for emotional distress;

   f. Award pre- and post-judgment interest as permitted by applicable law; and

   g. Provide any additional relief that this Court deems suitable for the Plaintiff.


                                       DEMAND FOR JURY TRIAL

       Plaintiff respectfully seeks trial by jury on all triable issues.


                                               Respectfully Submitted,

Dated: June 24th, 2023                 By:     ________/s/____Francis Koh______________

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                            Pro Se Plaintiff




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